Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 1 of 19 PageID 624




                 Exhibit 4
 (April 2021 Polygraph Showing Dorworth Did not
          Commit Misconduct with A.B.)
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 2 of 19 PageID 625
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 3 of 19 PageID 626
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 4 of 19 PageID 627
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 5 of 19 PageID 628
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 6 of 19 PageID 629
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 7 of 19 PageID 630
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 8 of 19 PageID 631
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 9 of 19 PageID 632
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 10 of 19 PageID 633
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 11 of 19 PageID 634
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 12 of 19 PageID 635
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 13 of 19 PageID 636
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 14 of 19 PageID 637
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 15 of 19 PageID 638
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 16 of 19 PageID 639
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 17 of 19 PageID 640
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 18 of 19 PageID 641
Case 6:23-cv-00871-CEM-DCI Document 61-4 Filed 08/08/23 Page 19 of 19 PageID 642
